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     Federal Defender
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2    Assistant Federal Defender
     Designated Counsel for Service
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5    Attorneys for Defendant
     JONATHAN PATRICK TURRENTINE
6

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8                      IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,               )   Case No. 2:21-mj-00148 AC
                                             )
11
                   Plaintiff,                )   STIPULATION AND ORDER TO
                                             )   CONTINUE DETENTION HEARING
             v.                              )
12                                           )
                                             )
13   JONATHAN PATRICK TURRENTINE,            )   Judge: Honorable Deborah Barnes
                                             )
14
                   Defendant.                )
                                             )
15

16           IT IS HEREBY STIPULATED by and between plaintiff, United States of
17   American, through Assistant United States Attorney James R. Conolly, and
18   defendant, JONATHAN PATRICK TURRENTINE, through his attorney Assistant
19   Federal Defender David M. Porter, that the detention hearing scheduled for
20   September 27, 2021, be vacated and continued to Thursday, September 30, 2021 at

21   2:00 p.m. The continuance is needed to permit defense counsel to communicate

22   with Mr. Turrentine and to investigate issues related to release.

23   / / /

24   / / /

25   / / /
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1    DATED: September 27, 2021
2                                       Respectfully submitted,

3    PHILLIP A. TALBERT                 HEATHER E. WILLIAMS
4    Acting U.S. Attorney               Federal Defender

5
6    /s/ James R. Conolly               s/ David M. Porter
     JAMES R. CONOLLY                   DAVID M. PORTER
7    Assistant U.S. Attorney            Assistant Federal Defender
8
     Attorneys for Plaintiff            Attorneys for Defendant
9    UNITED STATES OF AMERICA           JONATHAN PATRICK TURRENTINE
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1                                         ORDER
2          Pursuant to the stipulated request of counsel, and good cause appearing
3    therefor, the request to continue the detention hearing is GRANTED. The hearing
4    currently set for September 27, 2021, is vacated, and the hearing is continued to
5    Thursday, September 30, 2021, at 2:00 p.m.
6                     27 2021
     Dated: September __,
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